Case: 4:22-cv-00191-MTS Doc. #: 19-15 Filed: 03/15/22 Page: 1 of 9 PageID #: 783




 From: Priscilla Frost <priscillafrost@wsdr4.org>
 Cc: KERI SKEETERS <keriskeeters@wsdr4.org>
 Subject: WSD Challenged Library Materials Committee
 Date: November 3, 2021 at 2:26:46 PM CDT



 Thank you for agreeing to be a part of the committee to review
 challenged library materials. This email will outline our
 timeline and process. According to Board Policy 6241, the
 Superintendent/ Superintendent’s designee will appoint a review
 committee consisting of:


       Administrator of the building involved



       3 teachers



       1 member of the Board of Education



       4 lay persons



 The role of this committee is to evaluate challenged materials and
 make a recommendation to the Board of Education. For each
 book, members of the committee will complete an individual
 evaluation and the committee will submit a recommendation with a
 majority and minority opinion explanation to the Board of
 Education.




                                                                   Exhibit 22
Case: 4:22-cv-00191-MTS Doc. #: 19-15 Filed: 03/15/22 Page: 2 of 9 PageID #: 784




 We currently have 2 books for the committee to review:

 The Bluest Eye
 by Toni Morrison

 Lawn Boy
 by Jonathan Evison


 We will read
 The Bluest Eye
 by Toni Morrison first and then move on to
 Lawn Boy
 by Jonathan Evison.


 We ask that you read the text in its entirety, if you find you are
 unable to complete the book in its entirety, please let me know so
 that I can provide you with the proper resources to create a clear
 picture of the text.


 If you do not already have your copy of
 The Bluest Eye,
 we will be delivering it to you by Friday, November 5th.
 Please let me know if you do
 NOT
 need a copy.


 Timeline:

 Monday, November 29th @ 5 p.m.

 Virtual meeting to discuss




                                                                      Exhibit 22
Case: 4:22-cv-00191-MTS Doc. #: 19-15 Filed: 03/15/22 Page: 3 of 9 PageID #: 785




 The Bluest Eye
 by Toni Morrison. Please complete
 THIS
 form by 8 a.m. on Monday, November 29th


 November 29th Google Meet Link


 Tuesday, November 30th- tentative pending material
 obtainment:

 Lawn Boy
 by Jonathan Evison delivered to you


 Monday, December 13th @ 5 p.m.- tentative pending material
 obtainment

 Virtual meeting to discuss
 Lawn Boy
 by Jonathan Evison. Please complete
 THIS
 form by 8 a.m. on Monday, December 13th


 December 13th Google Meet Link



 Supporting Materials to Review:

 Toni Morrison Biography

 The Bluest Eye Summary




                                                                Exhibit 22
Case: 4:22-cv-00191-MTS Doc. #: 19-15 Filed: 03/15/22 Page: 4 of 9 PageID #: 786




 The Bluest Eye Online Text


 Common Sense Media Review of The Bluest Eye



 Guidelines for evaluation of a challenged text

 To guide us through this process we have used the American Library
 Associations resources for review of challenged materials.
 The ALA states that when
 evaluating a challenged book, you must set aside your own personal
 beliefs and evaluate the work using objective standards.
 Additionally, The Library Bill of Rights is a guiding framework for
 libraries:


 Library Bill of Rights

 The American Library Association affirms that all libraries are
 forums for information and ideas, and that the following basic
 policies should guide their services.


 I. Books and other library resources should be provided for the
 interest, information, and enlightenment of all people of the
 community the library serves. Materials should not be excluded
 because of the origin, background, or views of those contributing
 to their creation.


 II. Libraries should provide materials and information presenting
 all points of view on current and historical issues. Materials
 should not be proscribed or removed because of partisan or
 doctrinal disapproval.




                                                                     Exhibit 22
Case: 4:22-cv-00191-MTS Doc. #: 19-15 Filed: 03/15/22 Page: 5 of 9 PageID #: 787




 III. Libraries should challenge censorship in the fulfillment of
 their responsibility to provide information and
 enlightenment.


 IV. Libraries should cooperate with all persons and groups
 concerned with resisting abridgment of free expression and free
 access to ideas.


 V. A person’s right to use a library should not be denied or
 abridged because of origin, age, background, or views.


 VI. Libraries which make exhibit spaces and meeting rooms available
 to the public they serve should make such facilities available on
 an equitable basis, regardless of the beliefs or affiliations of
 individuals or groups requesting their use.


 VII. All people, regardless of origin, age, background, or views,
 possess a right to privacy and confidentiality in their library
 use. Libraries should advocate for, educate about, and protect
 people’s privacy, safeguarding all library use data, including
 personally identifiable information.


 Adopted June 19, 1939, by the ALA Council; amended October 14,
 1944; June 18, 1948; February 2, 1961; June 27, 1967; January 23,
 1980; January 29, 2019.



 Board Policy 6310


 WSD District Library Guidelines:

 District library guidelines are based on the American Library




                                                                     Exhibit 22
Case: 4:22-cv-00191-MTS Doc. #: 19-15 Filed: 03/15/22 Page: 6 of 9 PageID #: 788




 Association Library Bill of Rights. School District media personnel
 are concerned with generating understanding of American freedoms
 through the development of informed and responsible citizens. To
 this end, The American Association of School Librarians asserts
 that the responsibility of the school library media center
 is:


 1. To provide a comprehensive collection of instructional materials
 selected in compliance with basic written selection principles, and
 to provide maximum accessibility to these materials.

 2. To provide materials that will support the curriculum, taking
 into consideration the individual's needs, and the varied
 interests, abilities, socio-economic backgrounds, and maturity
 levels of the students served.

 3. To provide materials for teachers and students that will
 encourage growth in knowledge and that will develop literary,
 cultural and aesthetic appreciation, and ethical
 standards.

 4. To provide materials which reflect the ideals and beliefs of
 religious, social, political, historical, and ethnic groups and
 their contribution to American and world heritage and culture,
 thereby enabling students to develop an intellectual integrity in
 forming

 judgments.


 WSD Library Selection Procedures/Collection Development

 Curriculum needs are considered first and foremost in selection of
 library materials and equipment. The librarian must have a thorough




                                                                       Exhibit 22
Case: 4:22-cv-00191-MTS Doc. #: 19-15 Filed: 03/15/22 Page: 7 of 9 PageID #: 789




 knowledge of the curriculum, the strengths and weaknesses of the
 current collection, and an understanding of the students' abilities
 and skills. The librarian can then effectively select materials
 which will not only meet the instructional objectives, but will be
 educationally enriching to the student and fully utilized by the
 teacher.


 Knowledge of student interests and capabilities will enable the
 librarian to select educational and enjoyable materials acceptable
 to the student for recreational reading. Faculty and students are
 encouraged to suggest materials to be considered for purchase. The
 final decision is left to the librarian (based on the criteria
 listed below) and with the principal approving the requisition.
 Materials will be examined
 upon delivery and will be kept if they fill the need for which they
 were intended.


 Selection Criteria to Consider

 1. Promotion of Literacy

 2. Alignment with District Curriculum

 3. Needs outlined by the Department of Elementary and Secondary
 Education

 4. Intended Age Level and Comprehensibility

 5. Potential User Appeal

 6. Quality and Durability

 7. Authoritativeness




                                                                   Exhibit 22
Case: 4:22-cv-00191-MTS Doc. #: 19-15 Filed: 03/15/22 Page: 8 of 9 PageID #: 790




 8. Age of Publication

 9. Price

 10. Individual Building needs


 When selecting books and materials to be a part of the collection,
 librarians use the following professional organizations to
 aid in selection of resources:

 School Library Journal

 American Association for School Libraries

 American Library Association

 Young Adult Libraries Services Association


 Board Policy 6310:

 The Board believes that it is the responsibility of the District’s
 library/media centers to provide materials that reflect the ideals
 and beliefs of religious, social, political, historical and ethnic
 groups, and their contributions to American and world cultures.
 Materials will be selected which are related to and support the
 District’s curriculum. Selection of and access to library/ media
 materials will be based upon the contribution to the education
 program and the age appropriateness of the materials.


 Intellectual Access




                                                                      Exhibit 22
Case: 4:22-cv-00191-MTS Doc. #: 19-15 Filed: 03/15/22 Page: 9 of 9 PageID #: 791




 The library/media program serves as a point of access to
 information and ideas for students as they acquire critical
 thinking and problem-

 solving skills. Students and educators served by the library/media
 program should have access to resources and services free of
 constraints resulting from artificial barriers. Artificial barriers
 should not prevent students from accessing and using resources
 except as defined by District policies and regulations, including
 but not limited to selection, acquisition and Internet usage
 policies and regulations.



 If you have any questions, please do not hesitate to reach
 out.

 Priscilla

 --




                                                             .
 <mailcore::MessageHeader:0x600000b07c80 Message-ID: CAMP8BPNRjxThyANqdH4neQ9HrG4oNrSd+T3OHGcx3pEf9PWvBg@mail.gmail.com From: mailcore::Address:0x60000250d520 Priscilla Frost <priscillafrost@wsdr4.org> Cc: [mailcore::Address:0x60000250e260 KERI SKEETERS <keriskeeters@wsdr4.org>] Subject: WSD Challenged
 Library Materials Committee Return-Path: <priscillafrost@wsdr4.org> Content-Type: multipart/alternative; boundary="0000000000002eb6b905cfe76699" X-Received: by 2002:ac2:5fe9:: with SMTP id s9mr33726445lfg.412.1635967645506; Wed, 03 Nov 2021 12:27:25 -0700 (PDT) X-Google-Smtp-Source:
 ABdhPJyd0ywqAMgJpLTtnEk18w/8OKp97dtqwPkXxCH3KM7h3RoS4wKOzOdNrC/e2UPC+mRYA4iY Delivered-To: keriskeeters@wsdr4.org MIME-Version: 1.0 Authentication-Results: mx.google.com; dkim=pass header.i=@wsdr4.org header.s=google header.b=G8ZGvO8d; spf=pass (google.com: domain of priscillafrost@wsdr4.org designates
 209.85.220.41 as permitted sender) smtp.mailfrom=priscillafrost@wsdr4.org; dmarc=pass (p=NONE sp=NONE dis=NONE) header.from=wsdr4.org X-Gm-Message-State: AOAM530GBIMVLL5Am/UVwgUP2QwA3KF6r86LV6n9g/WBsoRvXfvXLMBg V2domIXAr7LH1mt00ZKXYnGtt81xcjkd3/+1Jp6zSqJYUXfSlL5zEn0= ARC-Authentication-
 Results: i=1; mx.google.com; dkim=pass header.i=@wsdr4.org header.s=google header.b=G8ZGvO8d; spf=pass (google.com: domain of priscillafrost@wsdr4.org designates 209.85.220.41 as permitted sender) smtp.mailfrom=priscillafrost@wsdr4.org; dmarc=pass (p=NONE sp=NONE dis=NONE) header.from=wsdr4.org DKIM-Signature: v=1; a=rsa-
 sha256; c=relaxed/relaxed; d=wsdr4.org; s=google; h=mime-version:from:date:message-id:subject:cc; bh=e0CDY1GS1ik4XduMFhBswRsdlBjT5DQzXEKI69VAF8I=; b=G8ZGvO8d7/6+4EC3taBa+pJ6gM+tx7I6Bv97r+I/gbRmELrQUHJdlfxKyc417gkwfO GhUCr4QjqJoPCkUj8f86htSOT00bfxUWSh2YCUwwjECKVoPSpyaufFbyjWir7+nBB/bA
 7+pZTkPlOjHpgWai3jW8Vsgh6VlKfOn+7m1ds= Received: by 2002:a19:d601:0:0:0:0:0 with SMTP id n1csp2953380lfg; Wed, 3 Nov 2021 12:27:25 -0700 (PDT) ARC-Seal: i=1; a=rsa-sha256; t=1635967645; cv=none; d=google.com; s=arc-20160816; b=pejDu6OkyoTUA2EOfmr9NWFs40DCtMkdcGKqErCG70YHwdx5N5rjLrIyfgHcWJmDCA
 KI2Zo02ZHi57h1DUz5CnYGear5cTHu18rl9ecn5jQYf92AHSf/MrHOgODuusRH/fC7pV ZH5CDUyZWqw7b4dNArL67Y9aZnN2woH5AaYfgUkqyw7xCMlfkuevaDkqaIFVfydzk0SY WptOfYZUc/pSaB+kDX2MzyVvu2fQQooESnke0o5Ba5IKrvreUeTjEHIP6LZujgVDVjA/
 jGOsv90jQWuBl08SAPFUy8u200FQhc3rtQHn0O1u7y9KmYsd+v2scw3VngQhCaONlg14 8UHQ== Received-SPF: pass (google.com: domain of priscillafrost@wsdr4.org designates 209.85.220.41 as permitted sender) client-ip=209.85.220.41; X-Google-DKIM-Signature: v=1; a=rsa-sha256; c=relaxed/relaxed; d=1e100.net; s=20210112; h=x-gm-
 message-state:mime-version:from:date:message-id:subject:cc; bh=e0CDY1GS1ik4XduMFhBswRsdlBjT5DQzXEKI69VAF8I=; b=nDhvuSV+r2QmYIdHDn6WeXFSttoTPkkRlOSbZnht+gLgcGJdj6607pPeBMy2emAgv9 gQbOPXCQ7sq6KxtPlSQhP9xMrGResYisf8S1lEPmxobns6GGc0LLpDTh0XMqayPujZF+
 4PsHheQjZ08aMyvkn07+MUEYTDDW6R7rL3Np5hcwmxzHF9I34B5koPg1jPTPlmp6jhxa 1RcROTvgpwbHMD3xLMBFlds0IJob55LqQ+bM5vhGNpEboRk9b0S/JLxCpF0hiuz+x/pA Ttl/gRK4lUKLORroJtRFc7aXbrNDOyUt137b7IgzRjmrYRI1jRP6RkxjXkvGUOXM3CyN 0Q/Q== ARC-Message-Signature: i=1; a=rsa-sha256; c=relaxed/relaxed;
 d=google.com; s=arc-20160816; h=cc:subject:message-id:date:from:mime-version:dkim-signature; bh=e0CDY1GS1ik4XduMFhBswRsdlBjT5DQzXEKI69VAF8I=; b=KgP0ERz2pdh5EAdhVH3Q1YtkAfNK2zkUB9zJxLov8YgjCzEcme/0kIDhWMh4Ukz5xp olkqqUR2rrhB7jR9GTGJNO4IvE/COpJQjSvqwcmmaDKxBJtaUf/8iSimPv/cxC0LTZBm
 97s/wvPmyz0uCFPDk7+rV5ls68n7H01LcSESPkgj1lG0SM9bXYHGH8pVXQqzwFrb6TOn CesFGRPekHPY40zkiT5zecrbwYVmoxDjOgA8qNG6XX/UOsgR5NXyV8s//oVfdjxQl0JR VICJys8dpVqrZaHiVJwRwlA/8+d7WL8gXmJYDkMb9Bh60188oc7kBec3t19YqP2jn0uP wGyg== >
 Email-Archiver-Version: 384.100




                                                                                                                                                                                                                                                                          Exhibit 22
